Case 2:11-cV-Ol798-AB Document 26 Fi_|ed 12/23/1*§’§18€§ 11 0(%1°33
Case 2:11-cv-01798-AB Document 24 F\led12/13/1

IN THE UNiTED sTATEs msTRICT coURT _
FoR THE EASTERN DISTRICT oF PENNSYLVANIA

TIGER 0PTICS, L_Lc, and
PRINCETON UNWERSITY

Plaintiffs,
v. ` § Civil Action No.i 1-cv-0179'8
ATI ANALYTICAL TEcHNoLoGY, INC. '

Defendant.

sTIP§%ATIoN oF msMIss_AL
AND Now, this §§ ______day of QQc£m_ DQ/ _ , 2011, the parties

having agreed m a separate agreement to settiement of the matters at issue between them,

 

it is hereby ORDERED,_subj e_ct,t_o the provisions of the aforesaid agreement, that this

matter is dismissed without prejudice

IT IS SO ()RDERED:

 

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ANITA B. BRODY, U.S.D.J.

Dat_e:

 

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SO STIPULATED:

This § day of £CS_D__M____B'EK ,201 1 .

/MK//

  

°25%@;\/

 

 

By:Benj Leace (Pa D. 54281) 'k D. Parker (Pa. I.D. 53938)
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and Prineeton University Attorneys for Analytical Technology, Inc.

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CERTIFICATE OF SERVICE

 

I, John Frank Murphy, hereby certify that on this 13th day of December, 2011, l caused a
true and correct copy of the foregoing Stipulation of Dismissal., to be served via CM/ECF and
electronic mail on the following counsel of record:

Benjamin E. Leace, Esq.
Andrew J. Koopman, Esq.
RatnerPrestia

1235 Westlakes Drive, Suite 301
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; John Frank Mur:hy@/

